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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO
                                  ____________________


UNITED STATES OF AMERICA,

       Plaintiff,

vs.                                                                 No. CR 24-1493 MLG

THERESA ATENCIO,

       Defendant.


                                          TRIAL NOTICE
       Please take notice that the above-entitled action is hereby set for Pretrial Conference on

January 2, 2025 at 1:30 p.m. and Jury Selection/Trial is set on a trailing docket beginning January

13, 2025 at 9:00 a.m. before Judge Matthew L. Garcia at the United States Courthouse, 333 Lomas

Blvd., N.W., Gila Courtroom, 5th Floor in Albuquerque, New Mexico.

       Counsel shall adhere to the Court’s instructions and case management deadlines as set forth

in the following attachment, “Pretrial Deadlines and Procedures for Criminal Cases before The

Honorable Matthew L. Garcia.”

                                                                     /s/
                                                           MITCHELL R. ELFERS
                                                           Clerk of Court
       For Inquiries regarding this notice please call Courtroom Deputy to Judge Garcia at 505-348-2383.
